           Case 2:09-cr-00159-MJP          Document 32        Filed 02/12/15        Page 1 of 2



 1                                                                The Honorable Marsha J. Pechman
 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                                 Plaintiff,           NO. CR09-0159MJP
11          v.
                                                        AMENDED ORDER GRANTING JOINT
12   GALINA KRAVCHENKO,                                 MOTION TO CONTINUE TRIAL AND
                                                        PRETRIAL MOTIONS DEADLINE
13                                 Defendant.
14
            THIS MATTER is before the Court upon the Joint Motion to Continue Trial and
15
     Pretrial Motions Deadline. Having considered all the files and records herein, the Court finds:
16
            (1) that taking into account the exercise of due diligence, the failure to grant a
17
     continuance in this case would deny counsel for the defendant the reasonable time necessary
18
     for effective preparation, due to counsel’s need for more time to review the evidence, consider
19
     possible defenses, and gather evidence materials to the defense, as set forth in 18 U.S.C.
20
     § 3161(h)(7)(B)(iv); and
21
            (2) that a failure to grant such a continuance in this proceeding would likely result in a
22
     miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and
23
            (3) that the additional time requested is a reasonable period of delay, as the defendant
24
     has requested more time to prepare for trial, to investigate the matter, to gather evidence
25
     material to the defense, and to consider possible defenses; and
26

27
     [PROPOSED] ORDER GRANTING JOINT MOTION TO
     CONTINUE TRIAL AND PRETRIAL MOTIONS DEADLINE
     CAUSE NO. CR09-0159MJP                                                  1301 - Fifth Avenue, Suite 3401
     PAGE – 1                                                                Seattle, Washington 98101-2605
                                                                                      (206) 623-6501
           Case 2:09-cr-00159-MJP           Document 32         Filed 02/12/15        Page 2 of 2



 1          (4) that the case is sufficiently complex that it is unreasonable to expect adequate
 2   preparation for pretrial proceedings or the trial itself within the current trial schedule, as set
 3   forth in 18 U.S.C. § 3161(h)(7)(B)(ii); and
 4          (5) that the ends of justice will best be served by a continuance, and that the ends of
 5   justice outweigh the best interests of the public and the defendant in any speedier trial, as set
 6   forth in 18 U.S.C. § 3161(h)(7)(A); and
 7          (6) that the additional time requested between the original trial date of February 17,
 8   2015, and the new trial date is necessary to provide counsel for the defendant the reasonable
 9   time necessary to prepare for trial, considering all of the facts set forth above.
10          IT IS THEREFORE ORDERED that the trial is continued to April 13, 2015 and that
11   the pretrial motions deadline is set for March 12, 2015. The period of time from February 17,
12   2015, and the new trial date is excludable time pursuant to the authorities set forth above.
13          DATED this 12th day of February, 2015.
14

15

16
                                                            A
                                                            Marsha J. Pechman
                                                            United States District Judge
17
     Presented by:
18    SKELLENGER BENDER, P.S.
19

20    s/ Peter Offenbecher
      Peter Offenbecher, WSBA No. 11920
21    poffenbecher@skellengerbender.com
      Attorneys for Galina Kravchenko
22

23   ANNETTE L. HAYES
     Acting United States Attorney
24
     Tessa Gorman, WSBA No. 35908
25   Thomas Woods
     Assistant United States Attorneys
26

27
     [PROPOSED] ORDER GRANTING JOINT MOTION TO
     CONTINUE TRIAL AND PRETRIAL MOTIONS DEADLINE
     CAUSE NO. CR09-0159MJP                                                    1301 - Fifth Avenue, Suite 3401
     PAGE – 2                                                                  Seattle, Washington 98101-2605
                                                                                        (206) 623-6501
